          Case 1:17-cv-00730-LJV Document 23 Filed 06/01/18 Page 1 of 3



                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF NEW YORK


 VIETNAM VETERANS OF AMERICA, et
 al.,

                Plaintiffs,

         v.                                         Case No. 17-cv-730-LJV

 DEPARTMENT OF DEFENSE, et al.,                     June 1, 2018

                Defendants.


                                   JOINT STATUS REPORT

       All parties, through their respective counsel, hereby submit this Joint Status Report, as

required by this Court’s Order dated May 3, 2018, ECF No. 21, and by the Court’s prior Order

Granting Stay of Proceedings, ECF No. 10.

Background

       Plaintiffs filed this action on August 1, 2017, seeking declaratory and injunctive relief

relating to the Defendants’ operation of the Servicemember Civil Relief Act Website (“SCRA

Website”). Plaintiff Thomas Barden also sought damages under the Privacy Act and disclosure of

certain records pursuant to the Freedom of Information Act.

       The parties have been engaged in good faith discussions in an effort to resolve all or part

of this matter without need for further litigation. The Court granted a stay of proceedings pending

further order of the Court to permit the parties to continue to pursue a potential negotiated

resolution of the case. ECF No. 10. That Order required the parties to submit a Joint Status Report

to the Court every 30 days that informs the Court about the status of negotiations and whether the

parties believe that further negotiations will be productive. Id.
          Case 1:17-cv-00730-LJV Document 23 Filed 06/01/18 Page 2 of 3



       The parties submitted their Joint Status Reports in accordance with the orders of this Court.

See Joint Status Report (Dec. 20, 2017), ECF No. 11; Joint Status Report (Jan. 31, 2018), ECF No.

13; Joint Status Report (Mar. 2, 2018), ECF No. 16; Joint Status Report (Apr. 2, 20178), ECF No.

18; Joint Status Report (May 2, 2018), ECF No. 20. The parties expect to file their next Joint

Status Report in 30 days, on Monday July 2, 2018.

Status Report

       The parties have continued to engage in productive discussions regarding potential

resolution of the case. In particular, the parties continue to pursue a meeting between their

respective clients and to discuss various technical concerns and limitations including a new terms

of use for the website and other potential measures to control access to the website while

maintaining its legitimate uses.

       Counsel for the parties plan further settlement discussions next week and expect those

discussions to continue to be productive. Accordingly, the parties have agreed to maintain the stay

of proceedings for another 30 days in order to permit continued negotiations toward a potential

resolution of the case. The parties will submit an updated Joint Status Report on July 2, 2018,

unless directed otherwise by the Court.


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                                                     Respectfully Submitted,

                                                     /s/ Jonathan Manes
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                                                     Sharon Kahn, Student Attorney
                                                     Cindy Manuele, Student Attorney
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                                                2
         Case 1:17-cv-00730-LJV Document 23 Filed 06/01/18 Page 3 of 3



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Dated: June 1, 2018




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